           Case 1:20-cv-03791-JMF Document 12 Filed 08/28/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

RAYMOND GONZALEZ, on behalf of himself
and all others similarly situated,
                                                            Case No. 1:20-cv-03791-JMF
                       Plaintiffs,                          NOTICE OF VOLUNTARY
                                                                   DISMISSAL
                -against-                                    WITHOUT PREJUDICE

ISLE OF PARADISE LLC.,
               Defendant.



         PLEASE TAKE NOTICE, that the above-entitled action against all Defendants shall be

and hereby is dismissed pursuant to F.R.C.P. Rule 41(a)(1)(A)(i) without prejudice; without

costs, or disbursements, or attorneys’ fees to any party.


Dated:     Queens, New York
           August 27, 2020


                                                      Respectfully submitted,

                                                      By: /s/ Mars Khaimov
         6225'(5('                                 Mars Khaimov, Esq.
                                                      Mars Khaimov Law, PLLC
                                                      10826 64th Avenue, Second Floor
                                                      Forest Hills, New York 11375
                                                      marskhaimovlaw@gmail.com
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            JXVW                             Attorneys for Plaintiff
